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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                       CASE NO. 3:08cr22LAC

GARY LAKEY

                                 REFERRAL AND ORDER

Referred to Senior Judge Lacey A. Collier on:   January 13, 2009

Motion/Pleadings: Motion For Judicial Notice
Filed by Defendant                      on 1/13/2009    Doc.#    458
RESPONSES:
                                        on              Doc.#
                                        on              Doc.#
        Stipulated        Joint Pldg.
        Unopposed         Consented
                                        WILLIAM M. McCOOL, CLERK OF COURT

                                              s/Mary Maloy
LC (1 OR 2)                                 Deputy Clerk: Mary Maloy

                                         ORDER
Upon   consideration      of   the   foregoing,    it   is   ORDERED     this   15 th   day   of
January, 2009, that:
(a) The relief requested is GRANTED.
(b)




                                                             s /L.A. Collier
                                                          LACEY A. COLLIER
                                                Senior United States District Judge
